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PUBLIC                                               AI Index: MDE 13/011/2002

                                                                   31 July 2002

Further information on UA 298/01 (MDE 13/007/2002, 10 May 2002) and follow-ups
(MDE 13/046/2001, 27 November 2001, MDE 13/014/2001, 12 December 2001, MDE
13/001/2002, 1 Februrary 2002) - Di a ea a ce /         ible e    aj dicial
execution/health concern/possible ill-treatment

IRANSiamak Pourzand (m) aged 72, intellectual and manager of Majmue-ye
            Farhangi-ye Honari-ye Tehran (The Tehran Cultural Centre)

On 9 July the Tehran Appeals Court upheld an 11-year prison sentence against
writer Siamak Pourzand.

In a ele i ed confe ion b oadca       b   he    a e media on 25 J l , he
 e o edl looked f ail and admi ed o a ange of acc a ion incl ding ha ing
links with monarchists and counter-re ol iona ie ,       ing and nde mining
  a e ec i       and c ea ing di ill ionmen among o ng eo le . P e io l ,
on 9 Ma ch, he a   e o ed o ha e confe ed    o a ange of imila acc a ion .

Amnesty International considers that the trial proceedings did not meet the
minimum international standards for a fair trial, that there was a lack of
adequate legal representation and that the circumstances in which the
 confe ion     e e ob ained a e a ca e fo conce n.

Siamak Pourzand is said to be in ill-health after suffering a heart attack
in detention in May and reportedly has been denied the medical care he requires.

FURTHER RECOMMENDED ACTION: Please send appeals to arrive as quickly as
possible, in English, French or in your own language:
- urging the authorities to allow Siamak Pourzand to receive adequate medical
attention and regular access to family visits whilst he remains in a prison
whose location is made known to the family;
- expressing concern that he appears to be a prisoner of conscience, arrested
solely for the peaceful expression of his beliefs; and if this is the case,
he should be released immediately and unconditionally;
- expressing concern that he has been denied the right to adequate and regular
access to legal representation of his choice;
- urging an independent investigation into the circumstances of Siamak
Po   and    ecen   ele i ed confe ion .


APPEALS TO:

Leader of the Islamic Republic
Hi E cellenc A a ollah Sa ed Ali Khamenei,
The Presidency, Palestine Avenue,
Azerbaijan Intersection, Tehran, Islamic Republic of Iran
Telegrams: Ayatollah Khamenei, Tehran, Iran
Email: webmaster@wilayah.org; (on the subject line write: For the attention
of the office of His Excellency, Ayatollah al Udhma Khamenei, Qom)
Salutation: Your Excellency

President
His Excellency Hojjatoleslam val Moslemin Sayed Mohammad Khatami
The Presidency, Palestine Avenue
Azerbaijan Intersection, Tehran, Islamic Republic of Iran
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Telegrams: President Khatami, Tehran, Iran
E-mail:     khatami@president.ir
Salutation: Your Excellency

Head of the Judiciary
His Excellency Ayatollah Mahmoud Hashemi Shahrudi
Ministry of Justice
Park-e Shahr
Tehran
Islamic Republic of Iran
Telegrams: Head of Judiciary, Tehran, Iran
Faxes: + 98 21 879 6671 (number may be unreliable; please mark "Care of Dr Mohammad
Javad Shariatbagheri, Director of International Affairs, Judiciary")
Salutation: Your Excellency

Minister of Foreign Affairs
His Excellency Kamal Kharrazi
Ministry of Foreign Affairs, Sheikh Abdolmajid Keshk-e Mesri Av
Tehran, Islamic Republic of Iran
Telegrams: Foreign Affairs Minister, Tehran, Iran
E-mail:      matbuat@mfa.gov.ir (may be unreliable)
Faxes: + 98 21 390 1999 ( lea e ma k Ca e f M Pe ma eh Ha e i, H ma         Righ
Office, F eig Mi i         )
Salutation: Your Excellency

COPIES TO:

Parliamentary Committee
Mohsen Mirdamadi Najafabadi
Article 90 Commission (Komisyon-e Asl-e Navad), Majles-e Shura-ye Eslami, Imam
Khomeini Avenue, Tehran, Islamic Republic of Iran
Telegrams: Majles, Tehran, Iran
Telex: 21 42 32 ICAI IR
Faxes:       + 98 21 646 1746 (Can be difficult to reach, please be patient)

Law Enforcement Forces (LEF, or the police)
If o ible, lea e co       o   a eal o he I lamic Re           blic of I an Police
Force , no ing ha i i a co       of an a eal, a :
http://www.policeiri.org/fpage/contactus.html

Influential political party
Jami a -e Motalefeh-e Eslami (Islamic Coalition Society)
If o ible, lea e co     o   a eal o Habibollah A ga oladi and o he members
of he Cen al Commi ee , no ing ha i i a co          of an a eal, a :
E-mail: info@motalefeh.org

and to diplomatic representatives of Iran accredited to your country.

PLEASE SEND APPEALS IMMEDIATELY. Check with the International Secretariat,
or your section office, if sending appeals after 11 September 2002.
